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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


  THE FREE METHODIST CHURCH OF                 )
  NORTH AMERICA,                               )
                                               )
                     Plaintiff,                )
                                               )
        v.                                     )
                                               ) CASE NO. 1:03-cv-2003-DFH-WTL
  ROLAND HAYES, JOHN LEWIS PATE,               )
  THE BENEFIT MARKETING GROUP,                 )
  INC., ASSOCIATION INSURANCE                  )
  ADMINISTRATORS, and TOM YOUNG,               )
                                               )
                     Defendants.               )


     ENTRY ON DEFENDANT NEELEY’S MOTION TO DISMISS CROSS-CLAIM


        This case is now before the court on the motion of defendant Wayne Neeley

  to dismiss for failure to state a claim for relief a cross-claim filed against him by

  defendant Kansas City Life Insurance Company (KCL). For the reasons explained

  below, the motion to dismiss is denied, and KCL’s motion to strike portions of

  Neeley’s reply brief is granted.



        The case as a whole presents a dispute over liability for a health insurance

  plan established by plaintiff Free Methodist Church of North America. Pursuant

  to a contract between KCL and the church, KCL was a third-party plan

  administrator for the plan. The plan found itself unable to play legitimate claims

  for benefits in December 2002. This litigation followed. Defendant Wayne Neeley
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  was a church executive who was the administrator of the plan. The church

  alleges that Neeley selected defendant Roland Hayes to assist in managing the

  plan, and Hayes is a convicted felon who was put in charge of the plan assets.

  KCL alleges that Neeley knew that Hayes had a prior federal felony conviction for

  misappropriation of funds and still put Hayes in control of plan assets. When the

  plan was unable to pay its obligations, KCL incurred additional costs to defend

  itself in litigation and regulatory actions.1



        KCL has filed a cross-claim against Neeley alleging that he was negligent in

  carrying out his responsibilities as plan administrator, and especially in selecting

  Hayes to handle plan assets and failing to supervise him adequately. KCL also

  alleges in the alternative that Neeley is personally responsible under the applicable

  contract with KCL if, as the church alleges, Neeley did not have authority to

  contract with KCL on behalf of the church.



        Neeley has moved to dismiss KCL’s cross-claim. His principal argument is

  that he cannot be held individually responsible in tort for alleged wrongs that

  amount to no more than claims for breach of contract resulting in economic harm.

  Neeley argues that KCL alleges that he acted only as an agent for the church and

  that parties to a contract in such relationships cannot hold individual agents of

  the other party liable in tort for wrongs that are merely breaches of contract.




        1
         The court entered a default judgment against Hayes on December 20,
  2004, in the sum of $1,266,525.67.

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  Neeley also contends he cannot be liable under the contract since he acted only

  as an agent of the church.



  I.    The Authority Issue and KCL’s Alternative Theory


        The court must deny Neeley’s motion to dismiss because of KCL’s alternative

  theory of liability. The church itself has filed a pleading denying that Neeley had

  authority to enter into the contract with KCL. That denial is not consistent with

  KCL’s theory of the case, which is that it had a valid contract with the church. In

  light of the church’s denial of Neeley’s authority, however, KCL is entitled to try

  to protect itself by alleging as an alternative theory against Neeley that he is

  individually liable for any breach of the contract.



        The contract in question provides that Missouri law governs its

  interpretation. Missouri follows the well established principle that when a person

  claims to be acting as an agent on behalf of a disclosed principal and appears to

  make a promise on behalf of the principal, but in fact did not have authority to do

  so, the purported agent is personally liable for the obligation. Robinson v. Pattee,

  222 S.W.2d 786, 788 (Mo. 1949); Coffman v. Harrison, 24 Mo. 524, 524 (1857);

  Husky Industries, Inc. v. Craig Industries, Inc., 618 S.W.2d 458, 461 (Mo. App.

  1981). Indiana law appears to be similar on this point. See Lewis v. Reed, 11 Ind.

  239 (1858); accord, e.g., Clark v. Maddux, 454 N.E.2d 1179,1181 (Ill. App. 1983)

  (under Illinois law, it is “is clear that an agent making a contract which he has no




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  authority to make binds himself personally according to the terms of the

  contract”).



        KCL has asserted a claim against the church for breach of the contract

  signed by Neeley, apparently on behalf of the church. The church has responded

  by denying, among other points, that Neeley had authority to sign the contract for

  the church. Under these circumstances, then, it is understandable that KCL has

  asserted in the alternative a claim against Neeley as an individual for breach of the

  contract.



        Neeley did not address this alternative theory in his opening brief. His reply

  brief argues (a) that the court must disregard the church’s denial of Neeley’s

  authority, and (b) that the court should consider an affidavit and exhibits from

  him showing that he did have authority to enter into the contract.           Neither

  argument is persuasive.



        In arguing that the court must disregard the church’s denial of Neeley’s

  authority, Neeley relies on the general rule that a motion to dismiss requires the

  court to consider only the pleading of the challenged claim (including attached

  documents). E.g., Tierney v. Vahle, 304 F.3d 734, 738 (7th Cir. 2002). Neeley

  contends that the factual allegations in KCL’s cross-claim against him say nothing

  about any lack of authority. Neeley’s argument runs into two snags here. First,

  the assertion of lack of authority is not inconsistent with the factual allegations



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  in KCL’s cross-claim, and a party is free to respond to a motion to dismiss by

  hypothesizing additional facts, so long as they are not inconsistent with the

  pleading. E.g., Early v. Bankers Life & Casualty Co., 959 F.2d 75, 79 (7th Cir.

  1992) (reversing dismissal). Second, the Federal Rules of Civil Procedure plainly

  authorize pleading in the alternative. See Fed. R. Civ. P. 8(e) (allowing pleading

  in alternative) and 8(f) (“All pleadings shall be so construed as to do substantial

  justice.”). KCL is free to pursue the church itself on the breach of contract claim

  while reserving its right to seek to hold Neeley responsible if the church prevails

  on the lack of authority defense.



        The court could not consider Neeley’s affidavit and exhibits without

  converting his motion to dismiss into a motion for summary judgment. See Fed.

  R. Civ. P. 12(b). Such a motion would seek a declaration as a matter of law that

  Neeley had authority from the church to sign the contract with KCL. Yet Neeley’s

  motion was not directed at the church. The court could not fairly decide the issue

  of his authority without giving the church an opportunity to participate. Neeley’s

  motion against only KCL failed to provide that opportunity. Accordingly, the court

  declines to convert Neeley’s motion to a motion for summary judgment. The court

  grants KCL’s motion to strike Neeley’s affidavit and attached exhibits submitted

  with his reply brief, and section II-C of his reply brief, but denies the motion to the

  extent it addresses other argument portions of the reply brief.2


        2
          The court is not persuaded by Neeley’s suggestion that KCL cannot refer
  to the church’s answer to KCL’s counterclaim (which denies Neeley’s authority to
                                                                    (continued...)

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  II.   Potential Tort Liability


        The foregoing discussion is sufficient to deny Neeley’s motion to dismiss.

  The principal focus of the briefing by KCL and Neeley, however, has been a

  vigorous debate as to whether Neeley could be held liable for any torts against

  KCL, or whether KCL would be limited to breach of contract remedies against

  Neeley’s principal, the church itself. Neeley relies on a recent Indiana Supreme

  Court decision, Greg Allen Construction Co. v. Estelle, 798 N.E.2d 171 (Ind. 2003),

  which held that homeowners who contracted with a construction company were

  not entitled to recover damages in tort from the principal of the construction

  company on the theory that the construction work had been performed

  negligently. The Indiana Supreme Court reviewed the boundaries between tort

  and contract law and concluded: “The rule of law is that a party to a contract or

  its agent may be liable in tort to the other party for damages from negligence that

  would actionable if there were no contract, but not otherwise.” 798 N.E.2d at 175.



        If Neeley was in fact authorized to execute the contract on behalf of the

  church, this principle of law could apply here, making it at least very difficult for

  KCL to recover from Neeley as an individual. Very difficult, or impossible? It is

  well settled that Rule 12(b)(6) authorizes dismissal of a claim only if “it is clear




        2
        (...continued)
  contract with KCL) without converting the motion to dismiss into a motion for
  summary judgment. KCL is entitled to point to other parties’ pleadings in
  opposing dismissal under Rule 12(b)(6) without risking conversion to a full-blown
  motion for summary judgment.

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  that no relief could be granted under any set of facts that could be proved

  consistent with the allegations” of the complaint. Hishon v. King & Spalding,

  467 U.S. 69, 73 (1984), citing Conley v. Gibson, 355 U.S. 41, 45-46 (1957);

  Gossmeyer v. McDonald, 128 F.3d 481, 489 (7th Cir. 1997). This standard gives

  effect to the liberal notice pleading philosophy that underlies the Federal Rules of

  Civil Procedure.



        The Seventh Circuit has repeatedly cautioned district judges not to be too

  quick to grant dismissals based on pleadings. E.g., Scott v. City of Chicago,

  195 F.3d 950, 951-52 (7th Cir. 1999) (reversing dismissal); Cook v. Winfrey,

  141 F.3d 322, 328 (7th Cir. 1998) (reversing in part a dismissal and noting that

  defendant’s and district court’s “entire argument strays rather far afield from the

  minimal requirements of federal notice pleading”); Jackson v. Marion County,

  66 F.3d 151, 154 (7th Cir. 1995) (reversing dismissal).



        In Chavez v. Illinois State Police, 251 F.3d 612, 650 (7th Cir. 2001), the

  court showed how difficult it can be for a dismissal to survive appeal. The court

  pointed out that when it reviews such a dismissal on appeal, “we will consider new

  factual allegations raised for the first time on appeal provided they are consistent

  with the complaint.” Id. at 650, quoting Veazey v. Communications & Cable of

  Chicago, Inc., 194 F.3d 850, 861 (7th Cir. 1999) (reversing dismissal), quoting in

  turn Highsmith v. Chrysler Credit Corp., 18 F.3d 434, 439 (7th Cir. 1994) (also

  reversing dismissal); see also Albiero v. City of Kankakee, 122 F.3d 417, 419 (7th



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  Cir. 1997) (plaintiff opposing dismissal may supplement the complaint with

  factual narration in an affidavit or brief).



        In light of these standards, it is worth recalling that Greg Allen Construction

  was decided after a full trial, as the Court of Appeals noted in the decision

  reversed by the Indiana Supreme Court. See 762 N.E.2d 760, 769. Also, even if

  the court dismissed KCL’s tort claims against Neeley at this stage, all or nearly all

  of the same evidence would still need to be presented at trial on the breach of

  contract claim against the church and on other claims among other parties. At

  this stage, the court cannot say based only on the pleadings, and new factual

  allegations that might be offered for the first time even on appeal, that there is

  absolutely no chance that KCL might be able to establish tort liability on the part

  of Neeley.



        Accordingly, Neeley’s motion to dismiss the cross-claim of KCL is hereby

  denied.



        So ordered.


  Date: November 8, 2005
                                                 DAVID F. HAMILTON, JUDGE
                                                 United States District Court
                                                 Southern District of Indiana

  Copies to:

  Abigail B. Cella
  ICE MILLER

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  abby.cella@icemiller.com

  Jason R. Delk
  ICE MILLER
  jason.delk@icemiller.com

  James R. Fisher
  ICE MILLER
  james.fisher@icemiller.com

  Philip John Gutwein II
  BAKER & DANIELS
  philip.gutwein@bakerd.com

  Scott D. Himsel
  BAKER & DANIELS
  sdhimsel@bakerd.com

  Edward E. Hollis
  BAKER & DANIELS
  eehollis@bakerd.com

  Alan J. Irvin
  HILL FULWIDER MCDOWELL FUNK & MATTHEWS
  alan@hfmfm.com

  Bart A. Karwath
  BARNES & THORNBURG LLP
  bart.karwath@btlaw.com




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   James D. Kemper
   ICE MILLER
   james.kemper@icemiller.com

   Keith Allen Kinney
   HILL FULWIDER MCDOWELL FUNK & MATTHEWS
   keith@hfmfm.com

   Michael Joseph Lewinski
   ICE MILLER
   michael.lewinski@icemiller.com

   Michael T. McNally
   ICE MILLER
   mcnally@icemiller.com

   Debra H. Miller
   ICE MILLER
   miller@icemiller.com

   Frederick M. Reinecke
   BOEHL STOPHER & GRAVES, LLP
   reinecke@bsg-in.com

   Emily Dawn Smith
   HILL FULWIDER MCDOWELL FUNK & MATTHEWS
   emily@hfmfm.com

   TOM YOUNG
   5240 Royal Oak Drive
   Fruitland Park, FL 34731

   ROLAND HAYES
   P. O. Box 500
   Townsend, TN 37882




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